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                         2024-1504, 2024-1566


UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT


                               CVB, INC.,
                                                    Plaintiff-Appellant
                                    v.
                           UNITED STATES,
                                                   Defendant - Cross-Appellant

 BROOKLYN BEDDING, LLC, CORSICANA MATTRESS CO., ELITE
  COMFORT SOLUTIONS, FXI, INC., INNOCOR, INC., KOLCRAFT
 ENTERPRISES, INC., LEGGETT & PLATT, INC., INTERNATIONAL
  BROTHERHOOD OF TEAMSTERS, UNITED STEEL, PAPER AND
   FORESTRY, RUBBER, MANUFACTURING, ENERGY, ALLIED
 INDUSTRIAL AND SERVICE WORKERS INTERNATIONAL UNION,
                         AFL-CIO,
                                     Defendants - Appellees


       Appeal from the United States Court of International Trade in
         Case No. 1:21-cv-00288-SAV, Judge Stephen A. Vaden


             CORRECTED BRIEF OF AMICUS CURIAE
    CUSTOMS AND INTERNATIONAL TRADE BAR ASSOCIATION
IN SUPPORT OF DEFENDANT – CROSS-APPELLANT UNITED STATES
   AND REVERSAL OF THE COURT OF INTERNATIONAL TRADE
ORDER DENYING THE JOINT MOTION TO RETRACT THE COURT’S
 PUBLIC SLIP OPINION AND ACCORD CONFIDENTIAL TREATMENT
TO ALLEGED BUSINESS PROPRIETARY INFORMATION CONTAINED
                          THEREIN
                        ____________
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


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    Trade Bar Association                      Trade Bar Association
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Counsel for Amicus Curiae Customs and International Trade Bar Association

Dated: October 11, 2024





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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 24-1504 & 24-1566
   Short Case Caption CVB, Inc. v. United States, et al.
   Filing Party/Entity The Customs and International Trade Bar Association ("CITBA")



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        10/07/2024
  Date: _________________                   Signature:   /s/ Deanna Tanner Okun

                                            Name:        Deanna Tanner Okun
               Case: 24-1504          Document: 51      Page: 4       Filed: 10/11/2024



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable



The Customs and International
Trade Bar Association ("CITBA")




                                  ‫܆‬      Additional pages attached
               Case: 24-1504      Document: 51   Page: 5   Filed: 10/11/2024



FORM 9. Certificate of Interest                                                Form 9 (p. 3)
                                                                                March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable              ‫܆‬
                                           ✔     Additional pages attached
See Attachment A




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                       ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable              ‫܆‬     Additional pages attached
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Attachment A
           Case: 24-1504    Document: 51     Page: 7   Filed: 10/11/2024




                    Attachment A to Certificate of Interest


The names of all law firms and the partners or associates that appeared for the
party or amicus now represented by me in the trial court or agency or are expected
to appear in this court are:


Appearing before this Court:               POLSINELLI PC
                                           Deanna Tanner Okun, Shareholder

                                           Kelley Drye & Warren LLP
                                           Brooke Ringel, Partner

                                           FedEx Corporation
                                           Emily Beline
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FORM 9A. Notice of Related Case Information                                       Form 9A (p. 1)
                                                                                    March 2023



                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                     NOTICE OF RELATED CASE INFORMATION

            Case Number 24-1504 & 24-1566
     Short Case Caption CVB, Inc. v. United States, et al.
     Filing Party/Entity The Customs and International Trade Bar Association ("CITBA")


  Instructions: Do not duplicate information. The notice must only be filed at the
  time of filing the first Certificate of Interest or, subsequently, if information
  changes during the pendency of the appeal. See Fed. Cir. R. 47.5(b). Attach
  additional pages as needed. This notice must not be included in a motion,
  petition, related response, or brief; please only include the Certificate of Interest
  (Form 9) in those documents.

1. Related or prior cases. Provide the case title, case number, and originating
   tribunal for each case. Fed. Cir. R. 47.5(b)(1).
 Please see Attachment A.




 ✔       Additional pages attached
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FORM 9A. Notice of Related Case Information                                        Form 9A (p. 2)
                                                                                     March 2023


2. Names of all parties involved in the cases listed above. Do not duplicate
   the names of parties. Do not relist the case information. Fed. Cir. R.
   47.5(b)(2)(A).
 Please see Attachment A.




 ✔     Additional pages attached


3. Names of all law firms, partners, and associates in the cases listed above.
   Do not duplicate the names of law firms, partners, and associates. Do not relist
   case information and party names. Fed. Cir. R. 47.5(b)(2)(B).
 Please see Attachment A.




 ✔      Additional pages attached

I certify the following information and any attached sheets are accurate and complete
to the best of my knowledge.


Date: 10/07/2024                                           /s/ Deanna Tanner Okun
                                              Signature:

                                              Name:        Deanna Tanner Okun
Case: 24-1504    Document: 51   Page: 14   Filed: 10/11/2024




                Attachment A
            Case: 24-1504        Document: 51       Page: 15     Filed: 10/11/2024




                              Attachment A to Form 9A
                             CAFC Nos. 24-1504 & 24-1566

1. Related or prior cases:
PT. Zinus Global Indonesia v. United States, Consol. Court No. 2021-00277 (Ct. of Int’l Trade)

Best Mattresses International Company Limited et al v. United States, Consol. Court No. 2021-
00281 (Ct. Int’l Trade)

Ashley Furniture Industries, LLC, et al., Court No. 2021-00283 (Ct. Int’l Trade)

Brooklyn Bedding, LLC, et al. v. United States, Court No. 2021-00285 (Ct. Int’l Trade)

CVB, Inc. v. United States, Court No. 2021-00288 (Ct. Int’l Trade)

2. Names of all parties involved in the cases listed above:
 Ashley Furniture Industries LLC
 Ashley Furniture Trading Company
 Best Mattresses International Company Ltd.
 Brooklyn Bedding, LLC
 Comfort Bedding Company Ltd.
 Corsicana Mattress Company
 CVB, Inc.
 Elite Comfort Solutions
 FXI, Inc.
 Leggett & Platt, Incorporated
 The International Brotherhood of Teamsters, and United Steel, Paper and Forestry,
      Rubber, Manufacturing, Energy, Allied Industrial and Service Workers International
      Union, AFL-CIO
 Innocor, Inc.
 Kolcraft Enterprises Inc.
 Millenium Furniture Co. Ltd.
 PT. Zinus Global Indonesia
 Rose Lion Furniture International Company Ltd.
 Saffron Living Co., Ltd.
 The United States
 Wanek Furniture Co. Ltd.

3. Names of all law firms, partners, and associates in the cases listed above:
J. David Park, Henry D. Almond, Daniel R. Wilson, Leslie C. Bailey, Kang Woo Lee, and Gina
Marie Colarusso, Arnold & Porter Kaye Scholer, LLP
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Yohai Baisburd, Thomas M. Beline, Nicole Brunda, Jeffery B. Denning (formerly), Chase J.
Dunn, Jack A. Levy (formerly), Margaret E. Monday, Sydney Reed, Sarah E. Shulman, Ulrika
K. Swanson, Cassidy Levy Kent (USA) LLP
Bryan Patrick Cenko, Jill A. Cramer, Jeffrey Sheldon Grimson, Wenhui (Flora) Ji, Yixin (Cleo)
Li, Kristin Heim Mowry, Jacob M. Reiskin, Sarah Marie Wyss, Mowry & Grimson PLLC
Hui Cao, Eric C. Emerson, Steptoe & Johnson LLP (now Steptoe LLP)
Ryan M. Eletto, Geoffrey M. Goodale, Nathan J. Heeter, Brian H. Pandya, Andrew R. Sperl,
Lauren E. Wyszomierski, Duane Morris LLP
Stephen G. Larson, Robert C. O’Brien, Paul A. Rigali, Larson LLP
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STATEMENT OF INTEREST1

      The Customs and International Trade Bar Association (“CITBA”) was

founded in 1917 and incorporated in 1926. Today, CITBA’s nearly 300 non-

government attorney members represent domestic industries, importers,

purchasers, international companies and customs brokers in regulatory and

administrative proceedings before the U.S. International Trade Commission, the

Department of Commerce, the United States Trade Representative, Customs and

Border Protection, the Court of International Trade, and the Court of Appeals for

the Federal Circuit. CITBA, therefore, on behalf of its members, has a direct

interest in the rules and practices governing the protection of confidential business

information provided by their clients to administrative agencies and the courts.

      CITBA agrees with the U.S. International Trade Commission that the Court

of International Trade erred in rejecting the Joint Motion to Retract the Court’s




                           
1
  Timely notice of intent to file this brief was provided, and all parties have
consented to its filing. Pursuant to Fed. Cir. R. 29(a)(2), no part of this brief was
authored by counsel for any party, and no person or entity has made a monetary
contribution to its preparation or submission other than the amicus curiae, its
members, or its counsel. Additionally, while CITBA includes U.S. Government
lawyers, government attorneys did not participate in the decision to file or in the
preparation of this brief nor did CITBA board members whose firms have an
interest in the proceeding vote or participate in the preparation of this brief.


                                           1
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Slip Opinion and Accord Confidential Treatment to Business Proprietary

Information Contained Therein.2

INTRODUCTION

      In the decision below, the court extols the “virtues of transparency” and the

importance of public access to information in judicial and investigative

proceedings by the Commission. See CVB, Inc. v. United States, 681 F. Supp. 3d

1313, 1321-23 (Ct. Int’l Trade 2024). CITBA agrees with these principles. As

practitioners before the Commission and the Court, CITBA recognizes and

supports the public dissemination of information that is not confidential. Such

transparency is important for the companies that the members of this bar represent

in Commission proceedings; for the promotion of knowledge and understanding

relating to the area of trade law; and for members of the general public that may

have economic, commercial, legal, academic, journalistic, or other interests in a

particular case. With respect to client representation, greater disclosure allows

counsel to have more informed and productive discussions with clients regarding

the meaningful issues in the case. Counsel also rely on prior, public Commission

determinations and staff reports in conducting legal research to support their

arguments; thus, having more information publicly available – including specific

                           
2
 Nonconfidential Principal and Response Brief of Defendant-Cross-Appellant
United States, CVB, Inc. v. United States, No. 2024-2504, 2024-2566 (Fed. Cir.
Sept. 30, 2024).


                                          2
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industry and market data – allows counsel to better assess past cases that may be

analogous or instructive to a current proceeding.

      Shared interests in disclosure, however, must be weighed against the

importance of developing as comprehensive a record as possible. The Commission

and entities participating in an investigation3 depend on a comprehensive and

accessible factual record. Full participation by companies that possess the factual

information necessary for interested participating entities to advocate for their

respective legal positions, and for the Commission to reach a decision based on a

robust investigation, is critical. Such information and data, however, are often

closely held by the entity that would be submitting the information to the

Commission. Thus, the value of the confidentiality procedures in place at the



                           
3
  Although the relevant statutory language and legislative history typically refers to
“parties” in a trade remedy investigation, the statute and Congress explicitly
recognized that non-parties also play a key role in those investigations.
Accordingly, CITBA generally uses the term “participating entities” to refer to all
private participants in an investigation at the agency level – both parties and non-
parties – to avoid unintended exclusionary inferences regarding the term “parties”
where all participating entities share an interest in safeguarding confidential
information. Note, however, that the term “participating entities” is intended to be
construed narrowly in the context of disclosure of confidential information under a
protective order, as the Commission’s Administrative Protective Order (“APO”)
procedures effectuate legislative intent by allowing the disclosure of confidential
information only to counsel for interested parties that have signed on to the
protective order to prevent the disclosure of competitively sensitive information to
company representatives. All uses of the term “parties” in quoted language have
been retained as in the original.


                                          3
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Commission to incentivize submission of, and subsequently protect, sensitive

information cannot be overstated.

      Pursuant to its statutory obligations, the Commission is only permitted to

disclose information designated as proprietary by the submitter in three specific

circumstances, namely, where it can be done so in a manner that does not reveal

the individual operations of a firm; where the information is disclosed to interested

parties under a protective order;4 or where the Commission receives the consent of

the person submitting the information. See 19 U.S.C. § 1677f(a)(4)(A); 19 U.S.C.

§ 1677f(c)(1). Counsel rely on the agency’s confidentiality procedures to solicit

sensitive information from companies, including both clients and other market

participants such as other producers, importers, or purchasers. Throughout the

stages of a proceeding – from domestic industry coalition-building and petition

development, to the submission of questionnaire responses, to supporting and

rebutting claims through briefing – companies share business proprietary

information in reliance on the Commission’s confidentiality rules, practices, and

procedures as explained by their counsel.

       Ultimately, more information is better for interested parties seeking to

prosecute or defend against a request for trade remedies, but reliable treatment of

                           
4
  See supra, note 3 (discussing how the Commission’s APO procedures limiting the
disclosure of confidential information to counsel for interested parties effectuate
legislative intent).


                                          4
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confidential information is necessary to achieve that goal. Confidence in the

effectiveness of the Commission’s confidentiality rules is especially critical for

companies that may have differing motivations or degrees of interest in the case.

Parties that are seeking or objecting to trade remedies have built-in incentives to

participate in these cases and the confidentiality provisions bolster their

participation. Yet purchasers of subject product – which are not treated as

“interested parties” with access to the confidential record under the relevant statute

and the Commission’s APO procedures – often lack the same level of motivation

to respond to questionnaires absent equally strong confidence that their

participation (i.e., names) and responses will be protected from disclosure. At the

same time, purchasers’ questionnaire responses often prove to be among the most

important evidence of the conditions of competition and/or the causal relationship

between imports and the domestic industry’s alleged material injury or threat

thereof. The removal or degradation of the confidentiality assurances, therefore,

would gravely imperil the willingness of purchasers to respond to the

Commission’s questionnaire.




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ARGUMENT

I.    THE LEGAL FRAMEWORK FOR THE PROTECTION OF
      CONFIDENTIAL INFORMATION BALANCES TRANSPARENCY
      AND PARTICIPATING ENTITIES’ INTERESTS UNDER THE
      TRADE REMEDIES STATUTE

      A.     The Statutory and Regulatory Regime

      In setting forth the statutory authority and responsibilities of the U.S.

International Trade Commission (“the Commission”), Congress tasked the

Commission with administering trade remedy laws and adjudicating whether a

domestic industry is materially injured or threatened with material injury by reason

of imports that are sold in the United States at less than fair value or that benefit

from countervailable subsidies provided through foreign government subsidies.5

Congress recognized that this is a fact-intensive inquiry and gave the Commission

broad authority, including subpoena power, to collect and manage “any document,

paper, or record, pertinent to the subject matter under investigation,” in the

possession of any entity engaged in the production, importation, or distribution of

any article under investigation, and necessary to carry out such statutory functions

under 19 U.S.C. § 1333(a).

      Congress established a framework to provide robust protection to business

proprietary information (“BPI”) but balanced such protection with the due process

                           
5
 Trade Remedy Laws Administered by USITC, United States International Trade
Commission, https://www.usitc.gov/trade_remedy_laws.htm.


                                           6
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rights of participating entities appearing before the Commission. In recognition of

these competing interests, the statute provides that the Commission shall not

publicly disclose any proprietary information except in the three specific above-

mentioned circumstances (i.e., anonymity, under a protective order, or with

consent). Importantly, the statute even requires the Commission, if it determines

that a person’s designation of information as proprietary is unwarranted, to return

the information to the submitter. 19 U.S.C. § 1677f(b)(1)(A).

      The legislative intent of 19 U.S.C. § 1677f was to help the Commission

“complete its investigations within the tight time limits for investigation provided

by statute” by granting “broad authority to frame such regulations as are necessary

to ensure maximum possible access to information . . . .” S. Rep. No. 100-71 at 112

(June 11, 1987). Congress recognized the need for this broad authority because “in

an injury investigation conducted by the ITC pertinent information is derived from

a variety of sources, many of whom are not parties to the proceeding.” Id. This

point is true for all market participants from whom information is sought, including

those such as purchasers who are not eligible to be “interested parties,” but who

nonetheless possess data valuable to the case.

      Consistent with the legislative intent, in adopting regulations to meet its

statutory obligations, the Commission defined categories of confidential business

information:



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             the disclosure of which is likely to have the effect of either
             impairing the Commission's ability to obtain such
             information as is necessary to perform its statutory
             functions, or causing substantial harm to the competitive
             position of the person, firm, partnership, corporation, or
             other organization from which the information was
             obtained, unless the Commission is required by law to
             disclose such information.
19 C.F.R. § 201.6(a)(1).

      Importantly, the Commission does not automatically guarantee and grant the

confidential status of submissions. Rather, to discern whether information being

submitted should be treated as BPI, the Commission also established a procedure

for submitting business information in confidence and asking the Commission to

treat the information as BPI. See generally 19 C.F.R. § 201.6(b). Under

Commission Rules, the submitter must provide various information such as the

nature of the subject information, a justification for the request for its confidential

treatment, and a certification in writing under oath that substantially identical

information is not available to the public. Id. (b)(3). If the Commission determines

that confidential treatment of the information is not warranted, the Commission is

required to return the information to the submitter. 19 U.S.C. § 1677f(b)(2); 19

C.F.R. § 201.6(g); see also Section II, infra. Participating entities may also appeal

the Commission’s approval or denial of the submitter’s requests for confidential

treatment within certain timeframes. See generally id. (e)-(f).




                                           8
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      The Commission upholds the statutory regime balancing the public interest

in transparency with the parallel interest in protecting participating parties’

confidential information in a number of ways. The Commission holds public

hearings in trade remedy cases, thereby allowing any interested entities to witness

the hearing and participate, if desired. The public hearing in a trade remedy

investigation serves as a fact-finding forum: “its purpose is to allow interested

parties to express their views and to permit Commissioners to ask questions and

solicit information that will be useful to them in reaching a determination.”6

      In addition to holding public hearings, the Commission supports

transparency in trade remedy investigations by independently researching publicly

available information regarding market dynamics of the particular products subject

to investigation and publishing public versions of its Staff Report and Views. The

public versions of these publications provide insight into the Commission’s legal

reasoning as they apply the provisions of the statute and incorporate as much

statistical data as possible without compromising the confidentiality of submitted

information.7 To achieve this balance, the Commission generally provides data in



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6
 Antidumping and Countervailing Duty Handbook, USITC Pub. 4540 (June 2015)
at II-19 (hereinafter, “AD/CVD Handbook”).
7
 Id. at II-11. The AD/CVD Handbook notes that “disaggregated data may be
presented where appropriate,” id., further supporting the Commission’s efforts to
balance transparency with its statutory duty to safeguard confidential information.


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aggregate form, but treats that aggregate data as confidential “if they include only

one or two companies, or if the they include three or more companies and one

company accounts for at least 75 percent of the total or two account for at least 90

percent of the total.”8

         The publication of public versions of both the Staff Reports and Commission

Views in trade remedy investigations provides transparency into the Commission’s

decision-making and facilitates the trade bar’s research to support their legal

arguments in trade remedy investigations, while the use of aggregated data in those

documents allows practitioners to utilize the data from past investigations to shape

their legal strategy to provide the strongest representation for participating entities.

         Consequently, the statutory and regulatory framework that protects

confidential information submitted in a trade remedy investigation balances the

public desire for transparency in the Commission’s legal decision-making and

participating entities’ interests in maintaining the confidential status of

information.




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8
    Id. at II-26.


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      B.     Congress Intended for the Confidentiality Provisions of the Statute
             to Cure a Lack of Transparency in Commission Proceedings

             1.     The Absence of Protections for Confidential Information
                    Encroached on Participating Entities’ Rights

      Prior to the Trade Agreements Act of 1979, the only information the

Commission was required to make available to counsel to parties was non-

confidential information to the extent required by the Freedom of Information Act.

S. Rep. No. 96-249, at 98-99 (1979). The limited access to information hampered

the ability of counsel for both petitioners and respondents to understand the

entirety of the record before the Commission, to rebut, correct, or clarify

information submitted by other participating entities, and to effectively advocate

for their clients’ positions. Practitioners’ lack of access to confidential information

also deprived the Commission itself of a more robust factual record developed by

the participating entities and more informed arguments and analysis.

      An attorney for respondents explained how difficult it was to practice

without access to confidential information in a 2017 publication celebrating the

centennial of the Commission:

             At that time counsel did not have access to a Commission
             staff report or, initially, to responses from questionnaires.
             Representing Japanese respondents, “we handled the
             economic issues in a very primitive, pragmatic way. We
             would get the statistics that were available from the
             Census Bureau, and we made a big use of Dun &



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               Bradstreet reports. Unreliable as they notoriously were
               ….”9
A petitioners’ attorney had similar views:
               Trade remedy proceedings … before 1980 were
               characterized by relatively truncated decisions by the
               Commission, limited access to information of record, and
               very limited judicial review …. the biggest improvement
               for practitioners was access to all information of record ….
               This permitted counsel for parties to make more informed
               arguments, to identify potential issues of importance for
               the Commission and Commission staff, and to improve
               generally the level of advocacy before the Commission.10
Congress established the present system giving counsel for interested parties

access to confidential information with protections from unauthorized disclosure in

direct response to these concerns. The system that was created has greatly

benefitted practitioners and their clients, including domestic producers, foreign

producers, importers, and foreign governments. Access to confidential information

has improved the transparency of Commission proceedings and decisions, allowed

counsel for interested parties to more meaningfully advocate for and protect their

interests, and led to more robust injury determinations.




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9
 A Centennial History of the United States International Trade Commission,
USITC Pub. 4744 (Nov. 2017) at 294 (oral history as told by Noel
Hemmendinger).
10
     Id. at 301-302 (oral history as told by Terence P. Stewart).


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              2.     Congress Recognized That Parties’ Interests Are Served by
                     Strong and Reliable Protections for Confidential
                     Information

       By enacting the Trade Agreements Act of 1979,11 which added new Section

777 (“Access to Information”) to the Trade Act of 1930, Congress recognized the

importance of developing rules for the treatment and disclosure of confidential

information precisely so that companies would be best positioned to participate and

advocate for their interests in antidumping and countervailing duty proceedings.

At the time, as the Senate Report on the bill explained, the absence of a

confidentiality regime in trade remedy proceedings limited the ability of interested

parties to fully exercise their rights:

              Section 777 provides the maximum availability of
              information to interested parties consistent with the need
              to provide adequate protection for information accorded
              confidential treatment. Petitioners under the antidumping
              and countervailing duty laws have long contended that
              their ability to obtain relief has been impaired by its lack
              of access to the information presented by the exporters and
              foreign manufacturers. By the same token, importers,
              exporters, and other respondents in such cases have
              complained of lack of access to information supplied by
              the domestic parties to such cases, particularly with
              respect to the economic health of the domestic industry
              involved. Access to information at the administrative level
              is even more imperative under the bill, which provides that
              the standard of judicial review of most administrative


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11
  Trade Agreements Act of 1979, Pub. L. No. 96-39, § 101, 93 Stat. 144, 187
(1979) (codified as amended at 19 U.S.C. § 1677f).


                                          13
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             actions in countervailing duty and antidumping duty
             proceedings is one of review on the administrative record.

S. Rep. No. 96-249, at 99-100 (1979) (emphasis added); see also H.R. Rep. No.

96-317, at 77 (1979).

      Several years later, the Omnibus Trade and Competitiveness Act of 1988

amended the confidentiality provisions of Section 777 further to require the

Commission to issue protective orders and to release all confidential information

(subject to certain limitations) under such orders. See S. Rep. No. 100-71, at 111

(1987). Both expanding the scope of the statutory provision and mandating the use

of protective orders to require disclosure of all confidential information to

“authorized representatives”12 were identified as necessary actions to further

promote interested parties’ rights in a proceeding:

             The Committee is concerned that the ITC’s practice
             creates difficulties for parties to ITC investigations. In
             most investigations, the bulk of the information collected
             by the ITC and on which it bases its decisions consists of
             confidential business information submitted by domestic
             producers, importers, and purchasers of the allegedly
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12
    “Authorized representatives include outside legal counsel for interested parties,
and consultants or other experts if either (a) such individuals are under the control
and advice of legal counsel and legal counsel has signed on their behalf or if (b)
such individuals regularly appear before Commerce or the ITC (and the agency
thus has effective sanctions to be applied against them) or (c) in other instances in
which the agency has effective sanctions to be applied against the individuals. In
determining whether in-house counsel may properly be given access, Commerce
and the ITC should be guided by the factors enumerated in United States Steel
Corp. v. United States, 730 F.2d 1465 (Fed. Cir. 1984).” H.R. Rep. No. 100-576,
at 623 (1988) (Conf. Rep.).


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             dumped or subsidized articles under investigation. Only
             aggregate data that cannot reveal the proprietary
             information of individual companies are released to the
             parties and the public. Because the ITC does not allow
             representatives of the parties access to the more detailed
             information in the record, they typically lack the very data
             that are essential for them to present their cases
             effectively. Moreover, on occasion the ITC commits an
             error in the presentation or interpretation of the data that
             counsel for the parties could bring to the ITC’s attention
             before it makes a determination on the merits of the case
             if counsel were allowed to review the data. . . . The
             Committee believes that the administrative process would
             be greatly improved if parties to an investigation who
             request protective order access be given it in a timely
             manner that enables them to use the information
             effectively.

Id. at 112 (emphasis added).

      Congress also determined that it was critical to balance the decision to

broaden access to confidential information under protective order with assurances

that such information would be protected from unauthorized disclosure. The level

of confidence in such protections would be promoted by “effective enforcement”

through “effective sanctions against violations” of such protections. H.R. Rep. No.

100-576, at 623 (1988) (Conf. Rep.). Reliance on the protection of confidential

information, in turn, would foster participation and enhance the Commission’s

ability to collect necessary information:

             Finally, the best insurance that the ITC will be able to
             obtain the information it needs for its investigations is its
             reputation for strictly maintaining the confidentiality of
             information submitted to it. The Committee endorses the


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             ITC’s protecting that reputation through the threat and, if
             necessary, use of strong sanctions under section
             1677f(c)(1)(B) against any person found in violation of an
             administrative protective order . . . .

S. Rep. No. 100-71 at 114 (emphasis added). In seeking to promote interested

parties’ rights to “present their cases effectively,” Congress understood that an

effective mechanism for protecting confidential information was necessary to

achieve a potent administrative process.

       The congressional intent to preserve the confidentiality of BPI explicitly

extended to judicial review of the Commission’s determinations in trade remedy

proceedings. 19 U.S.C. §1516a(b)(2)(B) provides that:

             The confidential or privileged status accorded to any
             documents, comments, or other information shall be
             preserved in any action under this section.
             Notwithstanding the preceding sentence, the court may
             examine, in camera, the confidential or privileged material,
             and may disclose such material under such terms and
             conditions as it may order.
19 U.S.C. § 1516a(b)(2)(B) (emphasis added). Congress elaborated on this

statutory provision by stating that “[s]pecial provision would be made in (b)(2)(B)

for preserving the confidential or privileged status of any materials contained in the

record, including, where the court determines it would be appropriate, the

disclosure of privileged or confidential material only under the terms of a

protective order.” S. Rep. No. 96-249 at 248. Further, “the lack of a determination

during the administrative proceedings concerning confidentiality or privileged with


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respect to documents, comments, or information will not preclude a party from

seeking protection for such material from the court.” Id.

      The CIT’s disclosure in its opinion of information in the administrative

record designated as BPI after the administrative record was closed and without the

consent of the party submitting BPI is therefore directly contrary to the statutory

and regulatory framework as well as the CIT’s historic recognition that proprietary

information safeguards serve to balance the Commission’s investigatory needs and

participating entities’ needs to protect confidential information. See Kemira Fibres

Oy v. United States, 858 F. Supp. 229, 234 (Ct. Int’l Trade 1994). If there is a risk

that the information might be publicly disclosed in subsequent litigation,

participating entities will inevitably be less willing to provide detailed sensitive

information about their operations in questionnaire responses and other written

submissions. Such consequences of disclosure of BPI will significantly undermine

the Commission’s ability to fulfill its statutory functions in accordance with 19

C.F.R. § 201.6 and effectively administer trade remedy laws in accordance with

congressional intent.

II.   COUNSEL RELY ON THE STATUTE’S CONSENT REQUIREMENT
      TO OBTAIN INFORMATION FROM COMPANIES THAT WOULD
      OTHERWISE NOT PROVIDE SUCH INFORMATION

      Counsel rely on the Commission’s confidentiality procedures to solicit and

obtain confidential information from companies that they would otherwise not



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provide due to concerns regarding the potential disclosure of information

significant to competitive business interests. As both Congress and this Court have

recognized, the provision of company-specific data provided through

questionnaires and other submissions described further below in Section III is an

integral part of the Commission’s investigative process and essential to the

fulfillment of its statutory obligations. See supra, Section I.B.2; see also Akzo N.V.

v. U.S. Int’l Trade Comm’n, 808 F.2d 1471, 1482 (Fed. Cir. 1986).

      Questionnaire data submitted to the Commission in trade remedy

investigations commonly includes substantial information related to a company’s

market activity – as a producer, importer, or purchaser – with regard to the specific

product being investigated. This detailed, product-specific information is unlikely

to be found in a company’s public statements regarding general market trends or

even statements regarding company profitability or investment plans.

Accordingly, both this Court and the CIT have recognized that disclosure of

questionnaire responses may cause irreparable harm to the competitive interests of

the companies that provided the information and inadvertently result in the

provision of undue business advantage to a competitor. Id.; see also Hyundai Pipe

Co., Ltd. v. U.S. Dep’t of Commerce, 11 CIT 238, 243 (1987).

      The only reason that companies agree to submit confidential information to

the Commission is because counsel – or, when not represented by or working with



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counsel, the Commission directly through written or other means – informs them

that such information will not be disclosed without their consent. These

procedures are essential for developing the record on which interested parties can

make their case.

      Pursuant to the statute, once confidential treatment is granted, the

Commission cannot disclose confidential information without the consent of the

submitter of the information:

             Except as provided in subsection (a)(4)(A) and subsection
             (c), information submitted to the administering authority
             or the Commission which is designated as proprietary by
             the person submitting the information shall not be
             disclosed to any person without the consent of the person
             submitting the information. . . .

19 U.S.C. § 1677f(b)(1)(A); Hebei Golden Bird Trading Co. v. United States, 2017

WL 3017099, at *5 (Ct. Int’l Trade July 17, 2017); see 19 C.F.R. § 201.6(g) (2024)

(“Any business information submitted in confidence and determined to be entitled

to confidential treatment shall be maintained in confidence by the Commission and

not disclosed except as required by law.”).

      The statutory consent requirement ensures the balancing of public and

private interests by providing the companies submitting confidential information

with the final decision regarding potential disclosure of that information. When

faced with potential Commission disclosure of information, the submitting

company can either acquiesce or withdraw the information at issue.


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        Counsel rely on this requirement for “the consent of the person submitting

the information” because this assures all submitters of sensitive information

(whether interested parties or other participants like purchasers) that entities other

than the Commission cannot second-guess confidential treatment claims. Any

decision as to whether their sensitive information will remain protected from

disclosure resides with the Commission, subject to the rights of the submitting

company. See, e.g., 19 C.F.R. § 201.6(d) (2024) (providing that approvals or

denials of requests for confidential treatment “shall be made only by the Secretary

or Acting Secretary”); id. § 201.19 (establishing that the Commission will not

disclose information designated as confidential pursuant to a Freedom of

Information Act request unless certain notice and objection opportunity

requirements are met).

        Indeed, when companies permit counsel to submit to the Commission

information that is not susceptible to disclosure other than under a protective order,

they do so aware of and relying on the Commission’s legal obligation to impose

significant sanctions, including criminal penalties, if counsel or Commission

employees with access to the information fail to comply with the Commission’s

APO. See 19 U.S.C. § 1677f(c)(1)(B); 19 C.F.R. § 207.7(d) (2024); 18 U.S.C. §

1905.




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      Even when the Commission’s determination in a proceeding is appealed to

the U.S. Court of International Trade, the Commission remains the guardian of the

record documents. See 28 U.S.C. § 2635(b)(1)(A)-(B) (providing that the

Commission provides the court with the record of a contested action under 19

U.S.C. § 1516a containing a “copy” of the Commission’s gathered information);

U.S. Int’l Trade Comm’n v. Tenneco West, 822 F.2d 73, 75 n.1 (D.C. Cir. 1987).

      Submitters’ confidence in the security of their information is also supported

by the procedures that apply when a question arises about affording confidential

treatment. Under the statute, if the Commission suspects that confidential

treatment of certain information might be unwarranted, the Commission is directed

to notify the submitter of the information:

             If the administering authority or the Commission
             determines, on the basis of the nature and extent of the
             information or its availability from public sources, that
             designation of any information as proprietary is
             unwarranted, then it shall notify the person who submitted
             it and ask for an explanation of the reasons for the
             designation. Unless that person persuades the
             administering authority or the Commission that the
             designation is warranted, or withdraws the designation, the
             administering authority or the Commission, as the case
             may be, shall return it to the party submitting it. . . .

19 U.S.C. § 1677f(b)(2). At that point, the Commission will either return the

information to the submitter, or the submitter may consent to the public disclosure

of such information. Id.; see 19 C.F.R. § 201.6(g) (2024); see also 19 C.F.R.



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§ 207.7(g)(2), (4) (2024) (similarly instructing the Commission to return

information to its submitter upon declining a request for exemption from disclosure

under APO). This choice by the submitter of information to disclose or accept the

return of the information is fundamental to counsel’s ability to support companies

in making informed decisions about how sensitive commercial information is used.

      If, on appeal, the Court intends to disclose information previously treated as

confidential because it is deemed to be publicly available or for another reason

under the balancing of interests, counsel must have the opportunity to provide

justification for continuing confidential treatment, consistent with statutory

protections at the administrative level. The statute states that the Commission

“shall” notify the submitter of the information and solicit an explanation for

confidential treatment, meaning that step is mandatory when confidentiality is

called into question. 19 U.S.C. § 1677f(b)(2). A submitter’s opportunity to

explain why confidential treatment is warranted is the sole action prescribed in the

statute when such treatment is called into question. Id. That unqualified right to

an opportunity to advocate for continuing confidential treatment is necessary to

inducing the submission of sensitive information to the Commission in the first

instance.

      This Court’s rules also support the preservation of confidential record data

while simultaneously balancing the public interest in judicial transparency. The



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rules establish word limitations on redactions in legal arguments, but those redaction

limitations “do not apply to appendices; attachments; exhibits; and addenda to

motions, petitions, responses, replies, or briefs” 13 – the very locations where

proprietary information is likely to be provided. In addition, the rules provide that,

“[i]n general, any portion of the record that was subject to a protective order in the

trial court or agency must remain subject to that order on appeal or review.”14

         The rules also provide that “[a] party or counsel for a party must be permitted

to inspect and copy material contained in the record governed by a protective order

of an agency in accordance with that order”15 and, in cases where a party to the

appellate litigation wishes to remove the confidential status of some portion of the

record, “that party must seek an agreement with the other parties.”16

         Companies submitting sensitive information to the Commission rely on an

opportunity to be heard prior to disclosure of sensitive information and on the ability

to withdraw such information if confidential treatment is denied. Counsel must also

be able to assure companies that the choice between disclosure of the confidential



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13
     Fed Cir. R. 25.1(d)(1).
14
  Fed. Cir. R. 25.1(c)(1) (emphasis added). This Court may, sua sponte, direct
parties to show cause why a protective order should not be modified, id., but the
rules do not contemplate unilateral disclosure of confidential material by the court.
15
     Fed. Cir. R. 17(d)(2); see also Fed. Cir. R. 11(b)(2).
16
     Fed. Cir. R. 25.1(c)(2) (emphasis added).


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information versus withdrawal of that information from the record is not lost on

appeal.

       If there is even a risk that unilateral decisions will be made by the Court in

subsequent litigation that information treated as confidential by the Commission

should be publicly disclosed, companies will be less willing to provide detailed

sensitive information about their operations and business in their written

submissions. That would have a profound chilling effect on the ability to present

or defend a case under the trade laws, to the detriment of the companies’ interests

and the Commission’s investigative function. The choice between disclosure or

withdrawal of the information lies solely with the company to which the

confidential information belongs – not the Court and not the Commission. These

statutory rights should not disappear between the administrative proceeding and

the judicial proceeding.

III.   INPUT FROM THE SUBMITTER ON THE NATURE AND
       CONTEXT OF THE INFORMATION IS CRITICAL TO ASSESSING
       CONFIDENTIALITY

       The business proprietary nature of information submitted under protective

order is highly contextual, and may not be evident based on a review of other

publicly available information alone, thus highlighting why procedural protections

for confidential information must remain in place on appeal. Input from the

submitter of the information regarding both the nature and the context of the



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information is critical to permit an informed assessment as to the confidentiality of

the data.

      Companies’ submissions to the Commission may include questionnaire

responses, declarations, paid subscription data, customer communications, internal

presentations and strategy, market analyses and forecasts – all of which typically

contain highly confidential and proprietary information. These submissions may

include data and descriptions of the domestic industry’s capacity utilization,

production metrics, shipments, financial indicators (including operating income,

profitability, and employment), pricing, and market share. Companies may also

disclose specific customers and potential customers (for producers) or suppliers

(for purchasers), as well as communications with those customers or suppliers

(including specific bids and offers).

        Petitioners are typically an association or coalition of domestic

manufacturers who agree to share confidential information with the Commission

and others under a protective order for purposes of bringing a trade case. U.S.

importers, foreign producers/exporters, and purchasers likewise share their

confidential information under protective order to help build the record and, in

many instances, develop their defense strategy. These companies, however,

compete with one another in the marketplace and closely guard their proprietary

information from one another, their customers, and their competitors. Each



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company may be unwilling to share information equally with competitors or with

customers, or among different customers. For instance, a domestic manufacturer

may use a specific pricing structure, implement a surcharge, or offer discounts for

certain customers but not others. Similarly, a single purchaser can have both

domestic and foreign suppliers and would not want to disclose its particular supply

chains to its vendors.

      Counsel also rely on the ability to help their clients (and non-clients that are

providing support) prepare declarations to be submitted to the Commission that

typically include first-hand correspondence, sales notes, call notes, and other

evidence of customer or supplier negotiations. Such primary source documents,

combined with a narrative declaration that explains the company declarant’s

understanding of the meaning, context, and market dynamics surrounding the

primary documentation, are vital for the Commission to gain insight into the

competitive conditions of the market under investigation. The ability to provide

such sensitive information related to the customer/supplier relationship is also

critical for companies to make and rebut claims regarding commercial transactions

that go directly to the Commission’s assessment of the statutory factors of volume

effects, price effects, and adverse impact by reason of subject imports in trade

remedy proceedings.




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      Further, information provided to the Commission (for example, capacity

utilization, production, specifications, or financial data) necessarily relates to the

specific domestic like product or subject import at issue, and thus often does not

align with broader information publicly disclosed on company websites, in investor

reports, or in regulatory filings. A company’s public earnings report may disclose

the profitability of the business as a whole, but the profitability of a specific

product line produced in the United States, would remain confidential. Similarly, a

company may include public information about the manufacturing process of its

product on its website, but keep certain aspects of that production process – such as

specific measurements, inputs, required equipment, or production steps –

proprietary. It may be generally known which producer has the largest share of the

U.S. market among numerous members of a domestic industry, but the relative

market shares of other, smaller producers may not be as well-known, or may

change over time. In such cases, disclosure of approximations or rankings of data

such as market shares, even if specific numbers are not used, can release

information that is not, in fact, publicly available but for the provision of product-,

period-, and facility-specific shipment data to the Commission.

      Moreover, companies develop market intelligence and forecasts through

their own experience, relationships, and analysis, even if seemingly similar

statements are made by other organizations (for example, industry consultants).



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Companies also rely on paid subscription information,17 such as pricing data,

market share, and foreign industry data, among other sources of information, to

gain an understanding of their competition and the marketplace. Submitting

companies use these internal assessments and paid subscription data in responding

to the Commission’s questions and requests. Much like an attorney’s compilation,

analysis, and presentation of otherwise public information for purposes of advising

a client is protected by privilege, a company’s internal use and development of

otherwise public (or fee-based) information for its own competitive purposes can

be – and often is – imbued with commercial sensitivity. Such information is

shared with outside counsel pursuant to that privileged relationship, and is

submitted to the Commission during the course of a proceeding with a request for

confidential treatment and the due process protections such a request affords. See

supra, Section I.

      Finally, certain documents that may be facially publicly available may need

to be kept confidential because the context of their disclosure would lead the reader

to conclude other information that would remain confidential but for that

disclosure. Such documents, like a news article, when read in context may allow


                           
17
    This paid subscription data is closely held for compliance with copyright and
use restrictions, and only shared with counsel and the Commission with the
understanding it will not be publicly disclosed – even if another company could
pay for the same data.


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the reader to “connect the dots” with respect to a suspected commercial

relationship or transaction that is otherwise confidential. These nuances are

common and understood by the Commission in its careful analysis of what should

and should not remain confidential.

      Context, therefore, is key, and the submitter of the information is best

positioned to explain why the information is commercially sensitive and should be

treated confidentially. The fact that certain types of information are disclosed

publicly by a company, or could be obtained from other sources, does not

necessarily render a company’s proprietary information public. The sensitivity of

companies’ data only increases when there are fewer companies in an industry or a

smaller customer base, such that even aggregated data could indicate relative

market positions and other competitive information.

      Regardless of the number of companies in an industry, the mere addition of

words such as “approximately,” “about,” or “roughly” does not provide sufficient

safeguards to protect sensitive information in accordance with the statutory

mandate governing trade remedy investigations. Moreover, the disclosure of

record data, even when presented in a different format than as originally provided,

directly contravenes the statutory protections afforded to proprietary information

that submitters rely on when providing such information to the Commission.




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      Without confidence in the opportunity to be heard while retaining the

confidential nature of information for the entire time that information remains part

of the Commission record, including on appeal, companies will be reticent to

submit confidential information in the first place, thereby harming both public and

private interests in the strong and fair enforcement of U.S. trade laws.

CONCLUSION

      CITBA urges the Court to reverse the Court of International Trade Order

rejecting the Joint Motion to Retract the Court’s Slip Opinion and Accord

Confidential Treatment to Business Proprietary Information Contained Therein

because not only is the disclosure of confidential information without consent

contrary to the statute in trade remedy matters, such disclosure also will have a

profound chilling effect on the willingness of companies to provide confidential

information in trade remedy investigations and thus impair the Commission’s

ability in future investigations to obtain such information as is necessary to

perform its statutory functions in accordance with 19 C.F.R. § 201.6.

      The Commission’s record and submitters’ interests are served by the

carefully crafted formula balancing the importance of creating a comprehensive

record – and the confidentiality protections, including the consent requirement, that

enable that – with the importance of public dissemination of information and the

body of trade law to which the public record contributes. Companies, however,



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will be far less willing to provide detailed information about the market, their

business, and their operations that they deem sensitive if there is a risk that the

information might be publicly disclosed in subsequent litigation, regardless of the

Commission’s statutory responsibility to protect such information at the

administrative level (or permit its withdrawal).

         Both Congress and the courts recognize the important role that limiting

disclosure of sensitive proprietary information plays in balancing the public and

private interests in trade remedy cases. Without confidence that the statutorily

provided procedural protections for confidential information, such as a notice and

consent requirement, will extend from agency proceedings to the court on appeal,

companies will decline to share confidential information with the Commission,

severely impairing the ability of interested parties to present or defend a case and

diminishing the Commission’s ability to fulfill its statutory obligations.



                                               Respectfully submitted,



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